               2:21-cr-00640-MGB                    Date Filed 09/22/21           Entry Number 3                Page 1 of 1




AO 102 (01/09) Application for a Tracking Warrant


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                            District of South Carolina


              In the Matter of the Tracking of                         )
          (Identify the person to be tracked or describe               )
          the object or property to be used for tracking)              )
       Target Telephone 4 particularly described in                    )        Case No.     2:21-cr-640
      Attachment A of the Affidavit of TFO Jonathan                    )
           Holbrook dated December 10, 2020                            )

                                           APPLICATION FOR A TRACKING WARRANT

        I, a federal law enforcement officer or attorney for the government, have reason to believe that the person,
property, or object described above has been and likely will continue to be involved in one or more violations of
 21     U.S.C. § 841 and 846 . Therefore, in furtherance of a criminal investigation, I request authority to install and
use a tracking device or use the tracking capabilities of the property or object described above to determine location. The
application is based on the facts set forth on the attached sheet.
          0 The person, property, or object is located in this                 0 The activity in this district relates to domestic or
            district.                                                            international terrorism.
          0 The person, property, or object is not now located                 ~ Other: This Court has jurisdiction over the offense
            in this district, but will be at the time of execution.           being investigated. 18 U.S.C. §§ 2703(c)(1)
                                                                              (A), 2711 (3)(A) and F.R.C.P. 41
The tracking will likely reveal these bases for the warrant under Fed. R. Crim. P. 41 ( c): (check one or more)
          0   evidence of a crime;                                             0 contraband, fruits of crime, or other items illegally
                                                                                 possessed;
          0 property designed for use, intended for use, or used               0 a person to be arrested or a person who is
            in committing a crime;                                               unlawfully restrained.

0 I further request, for purposes of installing, maintaining or removing the tracking device, authority to enter the
  following vehicle or private property, or both:
   I am an attorney for the Government & may apply for use of a PTD; the DEA is conducting an investigation of the
  target for drug trafficking (ss 841, 846) and information likely to be obtained is relevant to the investigation. s/JLS

~ Delayed notice of __ days (give exact ending date if more than 30 days:                       01/10/2020         ) is requested under
    18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


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                                                                                                            -
                                                                                         Jonathan-Ho!bw-ok, ·Task Force Officer
                                                                                              Applic~t's p;.inted name and title

Sworn to before me and signed in my presence.

Date:    \? ~ \0,~2,0
                    I
                                                                                                      Judge 's signature

City and state:         Charlestoh, South Carolina                              Mary Gordon Baker, United States Magistrate Judge
                                                                                                   Printed name and title
